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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                   Case No. 11-20551-40

ALFORNIA JOHNSON.

       Defendant.
                                             /

                     OPINION AND ORDER DENYING
     DEFENDANT’S “MOTION FOR PRETRIAL DISCLOSURE AND HEARING TO
     DETERMINE ADMISSIBILITY OF CO-CONSPIRATOR STATEMENT AGAINST
                DEFENDANT PURSUANT TO FRE 801(d)(2)(E)”

       On March 10, 2014, Defendant Alfornia Johnson filed a “Motion for Pretrial

Disclosure and Hearing to Determine Admissibility of Co-Conspirator Statement Against

Defendant Pursuant to FRE 801(d)(2)(E).” Having reviewed Defendant’s motion, the

court concludes a hearing is unnecessary. See E.D. Mich. LR 7.1(f)(2). For the

reasons stated below, the court will deny Defendant’s motion.

       Federal Rule of Evidence 801(d)(2)(E) provides that a statement is not hearsay if

it is offered against an opposing party and “was made by the party’s co[-]conspirator

during and in furtherance of the conspiracy.” To admit the statements of a co-

conspirator against a defendant as “non-hearsay” under FRE 801(d)(2)(E), this court

must find, consistent with United States v. Enright, 579 F.2d 980, 986–87 (6th Cir.

1978), that: (1) the conspiracy existed; (2) the defendant was a member of the

conspiracy; and (3) the co-conspirator made the statements during the course and in

furtherance of the conspiracy. See United States v. Wilson, 168 F.3d 916, 920 (6th Cir.
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1999); United States v. Warman, 578 F.3d 320, 335 (6th Cir 2009) (noting that the Sixth

Circuit “sometimes refer[s] to this as an Enright finding”). The district court may

provisionally “admit the hearsay statements subject to later demonstration of their

admissibility by a preponderance of the evidence.” United States v. Vinson, 606 F.2d

149, 153 (6th Cir. 1979); see also United States v. Maliszewski, 161 F.3d 992, 1007

(6th Cir. 1998) (citing United States v. Breitkreutz, 977 F.2d 214, 218 (6th Cir. 1992)).

       No requirement of a pre-trial hearing or ruling exists, although it is available to

the court as an “option . . . in which the court, without a jury, hears the government’s

proof of conspiracy and makes the Enright finding.” United States v. Holloway, 731

F.2d 378, 381 (6th Cir. 1984) (citing Vinson, 606 F.2d at 152–53). But it remains

“clearly within the district court’s discretion under Vinson to decide to conditionally admit

the hearsay statements subject to a later demonstration of their admissibility by a

preponderance of the evidence.” United States v. Montgomery, 358 Fed. App’x. 622,

626, 2009 WL 4906908, at *3 (6th Cir 2009) (rejecting defendant’s argument “that the

district court should have ordered a pre-trial mini-hearing at which he could have

presented evidence or required proof of the conspiracy and its connection to him before

admitting the co-conspirator’s statements”). Although holding a “mini-hearing” is one

acceptable method for making Enright findings, the court finds that based on the

circumstances of this case, it would be “burdensome, time-consuming, and

uneconomic.” Vinson, 606 F.2d at 152. The court will not require the Government to

prove evidence of a conspiracy under FRE 801(d)(2)(E) at a pre-trial hearing, and then

use the same evidence at trial to prove to a jury that Defendants engaged in the same

conspiracy. While Defendant would no doubt welcome the chance to preview the

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Government’s case and how it intends to present that case to the jury, the court

declines to force the Government to provide this roadmap, particularly when Defendant

has put forth no compelling reason to do so. The court is prepared to receive

arguments at trial as to the legitimacy of proffered 801(d)(2)(E) statements, and rule

consistent with the requirements of Vinson and Enright as explained above.

Accordingly,

         IT IS ORDERED that Defendant’s “Motion for Pretrial Disclosure and Hearing to

Determine Admissibility of Co-Conspirator Statement Against Defendant Pursuant to

FRE 801(d)(2)(E)” [Dkt. # 663] is DENIED.


                                                            s/Robert H. Cleland
                                                           ROBERT H. CLELAND
                                                           UNITED STATES DISTRICT JUDGE
Dated: March 26, 2014

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, March 26, 2014, by electronic and/or ordinary mail.

                                                            s/Lisa Wagner
                                                           Case Manager and Deputy Clerk
                                                           (313) 234-5522




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